     Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 1 of 32




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,
                                      Case No. 1:20-cv-03010-APM
v.
                                      HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,
                                      Case No. 1:20-cv-03715-APM
v.
                                      HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.




              PLAINTIFFS’ PROPOSED REMEDY FRAMEWORK
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 2 of 32




I.     Introduction

       Google’s anticompetitive conduct resulted in interlocking and pernicious harms that

present unprecedented complexities in a highly evolving set of markets. These markets are

indispensable to the lives of all Americans, whether as individuals or as business owners, and the

importance of effectively unfettering these markets and restoring competition cannot be

overstated. Plaintiffs intend to use the Court-ordered schedule to conduct vital discovery and a

thoughtful evaluation of facts adduced from that discovery in addition to the significant

evidentiary record that already exists. This careful, methodical approach is calibrated to ensure

that the specific remedies Plaintiffs ultimately include within a Proposed Final Judgment

meaningfully address and remedy Google’s violations of the antitrust laws in these vital markets.

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       On August 5, 2024, the Court found Google liable under Section 2 of the Sherman Act

for maintaining monopolies in U.S. general search services and U.S. general search text

advertising. United States v. Google LLC, 20-cv-3010 (APM), ECF No. 1032, at 276 (“Mem.

Op.”). Specifically, the Court found two violations of Section 2 as a result of Google’s illegal

maintenance of monopolies in those two separate markets. Plaintiffs have a duty to seek—and

the Court has the authority to impose—an order that not only addresses the harms that already

exist as a result of Google’s illegal conduct, but also prevents and restrains recurrence of the

same offense of illegal monopoly maintenance going forward. See Zenith Radio Corp. v.

Hazeltine Rsch., Inc., 395 U.S. 100, 133 (1969) (“‘[W]hen one has been found to have

committed acts in violation of a law he may be restrained from committing other related

unlawful acts.’” (quoting N.L.R.B. v. Express Pub. Co., 312 U.S. 426, 436 (1941))); see also 15

U.S.C. § 4 (statutory authority to “prevent and restrain violations”).




                                                  1
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 3 of 32




       Indeed, the Court has broad power to fashion a remedy that “prevent[s] future violations

and eradicate[s] existing evils.” United States v. Microsoft Corp., 253 F.3d 34, 101 (D.C. Cir.

2001) (quoting United States v. Ward Baking Co., 376 U.S. 327, 330–31 (1964)). Any remedy

requires a “comprehensive” “unitary framework” to restore competition and prevent future

monopolization with provisions “intended to complement and reinforce each other.” See New

York v. Microsoft Corp., 531 F. Supp. 2d 141, 170 (D.D.C. 2008).

       In its Memorandum Opinion, the Court cited a rich factual record that reflected the

following market conditions, among others: (1) Google’s illegal maintenance of monopolies in

these two markets has been sustained and reinforced for over ten years; (2) Google’s illegal

conduct generated a significant scale gap in both markets—a gap that unlawfully enriches

Google while simultaneously exacerbating the decade-long deprivation of scale to rival

innovators; and (3) network effects and significant barriers to entry exist such that for a new

entrant to meaningfully enter in these markets (and do so at the scale necessary), it must be able

to do so at multiple levels (e.g., an index of the web, a distribution network, user data, integrated

artificial intelligence, an advertiser network). See In re Google Play Store Antitrust Litig., Case

No. 20-cv-05671-JD (N.D. Cal. Oct. 7, 2024), ECF No. 701, at 11 (explaining how a remedy for

Google’s anticompetitive conduct needed to “bridge the moat” created by network effects and

other entry barriers in the market). These conditions, among the other market realities identified

by the Court, necessarily inform the contours and details of an effective remedy. The

interlocking, mutually reinforcing nature of these conditions also underscores the importance of

developing solutions that accomplish the goals of antitrust remedies.

       Under the law, once Google has been found to violate—here, twice—Section 2 for the

offense of illegal monopoly maintenance, a remedy for those offenses should (1) unfetter these




                                                  2
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 4 of 32




markets from Google’s exclusionary conduct, (2) remove barriers to competition, (3) deny

Google the fruits of its statutory violations, and (4) prevent Google from monopolizing these

markets and related markets in the future. See Microsoft, 253 F.3d at 103. This remedy should

address as well as prevent and restrain the offense of illegal monopoly maintenance in the

relevant markets, and the scope of the remedy need not be limited to the specific means or

methods of how Google achieved that illegal monopoly maintenance. See Ford Motor Co. v.

United States, 405 U.S. 562, 573 n.8 (1972) (“[R]elief . . . is not limited to the restoration of the

status quo ante. There is no power to turn back the clock. Rather, the relief must be directed to

that which is ‘necessary and appropriate in the public interest to eliminate the effects . . . ,’ or

which will ‘cure the ill effects of the illegal conduct, and assure the public freedom from its

continuance.’” (quoting United States v. E. I. Du Pont De Nemours & Co., 353 U.S. 586, 607

(1957) and N. Sec. Co. v. United States, 193 U.S. 197, 357 (1950))).

        In order to address Google’s offenses, the remedies here should account for alternative

and future forms of monopoly maintenance in the affected markets and reasonably related

markets in addition to the specific conduct to date. Nat’l Soc. of Pro. Engineers v. United States,

435 U.S. 679, 698 (1978) (“[I]t is not necessary that all of the untraveled roads to [a similar] end

be left open and that only the worn one be closed.” (quoting Int’l Salt Co. v. United States, 332

U.S. 392, 400 (1947) (abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547

U.S. 28 (2006))); Int’l Boxing Club of N.Y., Inc. v. United States, 358 U.S. 242, 262 (1959)

(noting that “sometimes ‘relief, to be effective, must go beyond the narrow limits of the proven

violation.’” (quoting United States v. U.S. Gypsum Co., 340 U.S. 76 at 90 (1950))).

        Further complicating matters, artificial intelligence—while not a substitute for general

search—will likely become an important feature of the evolving search industry. It is, therefore,




                                                   3
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 5 of 32




critical that any remedy carefully consider both past, present, and emerging market realities to

ensure that robust competition, not Google’s past monopolization, will govern the evolution of

general search and text advertising. To attain these goals, remedies and laws related to similar

conduct in other jurisdictions must also be considered to determine what measures this Court

should impose to prevent Google from maintaining its monopolies in the future through conduct

that evades or circumvents the Court’s final remedy order.

II.    Remedies Proposal Framework

       With the governing legal framework and complex market dynamics in mind, and

consistent with the Court’s September 18 Order, Plaintiffs are currently considering remedies to

address four categories of harms related to Google’s (1) search distribution and revenue sharing,

(2) generation and display of search results, (3) advertising scale and monetization, and

(4) accumulation and use of data. For each area, the remedies necessary to prevent and restrain

monopoly maintenance could include contract requirements and prohibitions; non-discrimination

product requirements; data and interoperability requirements; and structural requirements.

       As noted above, Plaintiffs have commenced discovery to ensure that its Proposed Final

Judgment—including any specific remedies sought—appropriately and meaningfully addresses

the harms resulting from Google’s unlawful conduct in the context of current market realities.

Plaintiffs will continue to engage with interested parties—in conjunction with available formal

discovery tools and expert analysis—to learn not just about the relevant markets themselves but

also about adjacent markets as well as remedies from other jurisdictions that could affect or

inform the optimal remedies in this action. E.g., In re Google Play Store Antitrust Litig., Case

No. 20-cv-05671-JD (N.D. Cal. Oct. 7, 2024), ECF No. 702 (enjoining Google for Play Store

practices that violated various antitrust laws, including Section 2).




                                                  4
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 6 of 32




       Plaintiffs have described the forms of remedies under consideration in good faith but this

description, of course, reflects the state of the record at this phase of the remedy proceedings. As

discovery proceeds, Plaintiffs reserve the right to add or remove potential proposed remedies

identified in this high-level framework. Considering governing precedent aimed at providing a

comprehensive and unitary framework, Plaintiffs anticipate that its Proposed Final Judgment will

include a number of mutually reinforcing remedies from most, if not all, of the categories under

consideration, with an aim of making the remedy effective and administrable. Plaintiffs provide

these categories to illustrate the different bottlenecks that Google presently controls that must be

freed from the continuing effects of anticompetitive conduct, and where Google must be barred

from new actions creating new obstacles to competition in general search services and general

search text ads.

       A.      Search Distribution And Revenue Sharing

       The starting point for addressing Google’s unlawful conduct is undoing its effects on

search distribution. See Mem. Op. at 3 (“[M]ost devices in the United States come preloaded

exclusively with Google. These distribution deals have forced Google’s rivals to find other ways

to reach users.”). For more than a decade, Google has controlled the most popular distribution

channels, leaving rivals with little-to-no incentive to compete for users. Id. at 25, 226, 236–42.

Similarly, rivals cannot compete for these distribution channels because Google’s monopoly-

funded revenue share payments disincentivize its partners from diverting queries to Google’s

rivals. Id. at 233. Fully remedying these harms requires not only ending Google’s control of

distribution today, but also ensuring Google cannot control the distribution of tomorrow.

       Accordingly, Plaintiffs are considering remedies that would limit or end Google’s use of

contracts, monopoly profits, and other tools to control or influence longstanding and emerging

distribution channels and search-related products (e.g., browsers, search apps, artificial


                                                 5
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 7 of 32




intelligence summaries and agents). For example, Plaintiffs are evaluating remedies that would,

among other things, limit or prohibit default agreements, preinstallation agreements, and other

revenue-sharing arrangements related to search and search-related products, potentially with or

without the use of a choice screen.

       Similarly, Plaintiffs are considering behavioral and structural remedies that would

prevent Google from using products such as Chrome, Play, and Android to advantage Google

search and Google search-related products and features—including emerging search access

points and features, such as artificial intelligence—over rivals or new entrants. Such

consideration is faithful to the Court’s findings. As the Court recognized, Google’s longstanding

control of the Chrome browser, with its preinstalled Google search default, “significantly

narrows the available channels of distribution and thus disincentivizes the emergence of new

competition.” Mem. Op. at 159. “[T]he Google Play Store is a must-have on all Android

devices,” id. at 210; and the Android Agreements are, of course, a critical tool for Google’s

anticompetitive limitations on distribution.

       Lastly, Plaintiffs seek to explore remedies that will address the practices and impacts

related to user behavior consistent with the evidence adduced at trial. See, e.g., Mem. Op. at 24–

28 (“[T]he vast majority of individual searches, or queries, are carried out [by] habit.”). Plaintiff

States are also considering remedies that would require Google to provide support for

educational-awareness campaigns that would enhance the ability of users to choose the general

search engine that suits them best.

       B.      Accumulation And Use Of Data

       Virtually every component and process of a general search engine benefits from data.

Mem. Op. at 226 (“Scale is the essential raw material for building, improving, and sustaining a

GSE.”). Google’s unlawful behavior has enabled it to accumulate and use data at the expense of


                                                  6
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 8 of 32




rivals. Id. Accordingly, Plaintiffs are considering remedies that will offset this advantage and

strengthen competition by requiring, among other things, Google to make available, in whole or

through an API, (1) the indexes, data, feeds, and models used for Google search, including those

used in AI-assisted search features, and (2) Google search results, features, and ads, including the

underlying ranking signals, especially on mobile. Plaintiffs are mindful of potential user privacy

concerns in the context of data sharing; however, genuine privacy concerns must be

distinguished from pretextual arguments to maintain market position or deny scale to rivals. As a

result, Plaintiffs are considering remedies that would prohibit Google from using or retaining

data that cannot be effectively shared with others on the basis of privacy concerns. Plaintiffs are

also considering other remedies that would reduce the cost and complexity of indexing or

retaining data for rival general search engines.

       C.      Generation And Display Of Search Results

       The harms of Google’s conduct also extend to the generation and display of new and

developing features of general search, such as generative artificial intelligence (including on-

device artificial-intelligence functionality) and retrieval-augmented-generation-based tools.1

These results and features often rely on websites and other content created by third parties, who

have little-to-no bargaining power against Google’s monopoly and who cannot risk retaliation or

exclusion from Google. Google’s ability to leverage its monopoly power to feed artificial

intelligence features is an emerging barrier to competition and risks further entrenching Google’s

dominance. Accordingly, Plaintiffs are considering remedies that would, for example, prohibit




1
  Retrieval-augmented generation “is an AI framework that combines the strengths of traditional
information retrieval systems (such as search and databases) with the capabilities of generative
large language models.” What is Retrieval-Augmented Generation (RAG)?, Google,
https://cloud.google.com/use-cases/retrieval-augmented-generation (last visited Oct. 8, 2024).

                                                   7
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 9 of 32




Google from using contracts or other practices to undermine rivals’ access to web content and

level the playing field by requiring Google to allow websites crawled for Google search to opt

out of training or appearing in any Google-owned artificial-intelligence product or feature on

Google search such as retrieval-augmented-generation-sourced summaries.

       D.      Advertising Scale And Monetization

       Google’s unlawful maintenance of its general search text advertising monopoly has

undermined advertisers’ choice of search providers as well as rivals’ ability to monetize search

advertising. Mem. Op. at 226, 264–65. This conduct has also enabled Google to profitably

charge supracompetitive prices for text ads while degrading the quality of those ads and the

related services and reporting. Id. at 259–64. Correcting these harms to advertisers is critical to

spurring investment and opportunity. Id. at 23 (“As result of the extraordinary resources required

to build, operate, and monetize a GSE, venture capitalists and other investors have stayed away

from funding new search ventures.”).

       Accordingly, Plaintiffs are considering remedies for general search text advertising that

will create more competition and lower the barriers to entry, which currently require rivals to

enter multiple markets at scale. These remedies may address Google’s use of scale, including

new advertising technologies such as artificial intelligence (e.g., Performance Max), in

enhancing and protecting its general search text ad monopoly. Plaintiffs are also evaluating

remedies that would involve licensing or syndication of Google’s ad feed independent of its

search results. Similarly, Plaintiffs are considering remedies that would allow Google search

advertisers to receive transparent and detailed information (e.g., Search Query Reports and other

information related to its search text ads auction and ad monetization) consistent with user

privacy and to opt out of Google search features (e.g., keyword-expansion, broad match).




                                                  8
       Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 10 of 32




III.   Administration, Anti-circumvention, and Anti-retaliation

       An effective remedy requires administration as well as protections against circumvention

and retaliation, including through novel paths to preserving dominance in the monopolized

markets. This is especially true in dynamic industries like the markets at issue here. Accordingly,

Plaintiffs are considering additional remedies aimed to achieve these goals. These remedies

could, among other things, require Google to (1) finance and report to a Court-appointed

technical committee that helps administer the remedies in this action, including by monitoring

any circumventive or retaliatory behavior; (2) designate a senior Google executive to be made

regularly available to the Court to report on Google’s compliance with the remedies in this

action; (3) continue to retain relevant documents (including chat messages) and submit to

inspection as requested by the Court, the technical committee, or the Plaintiffs; (4) train

employees routinely on compliance with the remedies in this action; (5) prohibit Google from

owning or otherwise holding a stake in the success of its search competitors; and (6) refrain from

retaliating against a rival or anyone who cooperates with a rival or with the implementation,

monitoring, or enforcement of the remedies in this action. In addition, should Google engage in

willful or systemic violations of what is ultimately the final judgment, Plaintiffs are considering

a range of provisions that would correct such non-compliance and promote the remedial

objectives of the final judgment. Such provisions could include use of the full range of tools

previously identified such as structural and additional behavioral remedies as well as term

extensions. To be effective, these remedies, as well as others, must include some degree of

flexibility because market developments are not always easy to predict and the mechanisms and

incentives for circumvention are endless.

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                                                 9
      Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 11 of 32




       Google’s unlawful conduct persisted for over a decade and involved a number of self-

reinforcing tactics. Unwinding that illegal behavior and achieving the goals of an effective

antitrust remedy takes time, information (particularly given the informational asymmetries

between Plaintiffs and Google), and careful consideration. Plaintiffs are working to investigate

and evaluate the particulars of the remedies that will be necessary to resolve the serious

competition issues that have plagued the relevant markets for more than a decade. In service of

its obligations to the American people, Plaintiffs will continue to engage with market

participants, conduct discovery, and ultimately, provide the Court with a further refined

Proposed Final Judgement in November 2024 and then, in accordance with the Court’s Order, a

Revised Proposed Final Judgment in March 2025.




                                                10
      Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 12 of 32




Dated: October 8, 2024                 Respectfully submitted,

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Case 1:20-cv-03010-APM Document 1052 Filed 10/08/24 Page 18 of 32




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